              Case 1:07-cv-00246-S-DLM            Document 29-2       Filed 01/10/2008      Page 1 of 6



                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF RHODE ISLAND


         WEAVER’S COVE ENERGY, LLC                             :
                                                               :
         v.                                                    :                      CA. No. 07-246S
                                                               :
         RHODE ISLAND COASTAL RESOURCES                        :
         MANAGEMENT COUNCIL, ET AL.                            :


                               STATE’S STATEMENT OF UNDISPUTED FACTS

                 1. The original purported application to the CRMC (July, 2004) related:

                         The project developer has a contractual right to purchase a
                         Brownfields site in Fall River, Massachusetts, on which dredge
                         material will be used as engineered fill, and therefore has control
                         over the dredge material placement site. The permitting process
                         for handling the dredge material at the Fall River site is well under
                         way with the relevant Massachusetts permitting agencies. Details
                         regarding existing and proposed conditions on the Fall River site
                         are subject to the jurisdiction of Massachusetts for review and
                         permitting. Accordingly, no authorization for our Massachusetts
                         activities can be sought from the RIDEM/CRMC.

         J.A. Tab 11, p. 3 (Form entitled “State of Rhode Island Dredging Application Checklist,” sent on

         July 16, 2004, from Weaver’s Cove to CRMC, received July 19).

                 2. That filing further stated:

                         Dredged material will be used to as engineered fill to create
                         landforms on the LNG Terminal site in Fall River, Massachusetts.

         J.A. Tab 10, p. 2 (Cover letter dated July 16, 2004, from Epsilon Associates, on behalf of

         Weaver’s Cove, to CRMC).

                 3. With respect to the currently proposed destination of the spoils, Weaver’s Cove’s own

         later submission to the U.S. Army Corps of Engineers (Army Corps), of March 17, 2005, related:

                         [W]e respectfully request that the USACE formally consider open
                         ocean disposal as a back-up option.




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM             Document 29-2        Filed 01/10/2008       Page 2 of 6




         J.A. Tab 19, p. 2.

                  4. The ACOE then deemed that new hearings were needed and published a new notice:

                         The applicant filed its December 2003 FERC application, its Corps
                         permit application and other documents with on-site placement of
                         stabilized dredged material as its preferred dredged material
                         management option. . . ..

                         However, . . . the Project is now proposing to place the suitable
                         dredged material in a designated ocean disposal site(s).

         J.A. Tab 31, p. 2 (Notice dated November 1, 2005, from the ACOE).

                  5. “[O]ffshore disposal” was now cited as the applicant’s “preferred alternative.” Id. It

         has become clear that (although never stated on the record before the CRMC) upland disposal is

         cancelled and in-water disposal is sought.

                  6. The overall transport impact would be over a 100 times greater factoring in both the

         greater number of trips and the greater distance. See Danni Goulet affidavit, Ex. D at ¶ 18, ¶¶

         12-22.

                  7. The initial proposal’s specifications are as follows: Frequency of shipments (annual):

         60-70 port visits.      See Ex. A to Motion to Stay, Docket # 19, p. 28 (Coast Guard

         Recommendation Coast Guard Recommendation Against Waterway Suitability dated October

         24, 2007)

                  8. This (see immediately preceding paragraph) translates this into 120 transits. Id.

                  9. On August 10, 2005, the President signed into law the Safe, Accountable, Flexible,

         Efficient Transportation Equity Act: A Legacy for Users (SAFETEA-LU), Pub. L. No. 109-59, §

         1948, 119 Stat. 1144 (2005).




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM           Document 29-2         Filed 01/10/2008      Page 3 of 6



                 10. § 1948 of this law expressly reflects the intent of the President and Congress that the

         existing Brightman Street Bridge, in Fall River, Massachusetts, shall be “maintained . . . as an

         emergency service route.” J.A. Tab 26 (SAFETEA-LU § 1948).

                 11. On February 2, 2006, the applicant filed with the U.S. Coast Guard a notification

         entitled “Change of Information in Letter of Intent to Operate a Newly Constructed Waterfront

         Facility Handling LNG.” JA Tab 40.

                 12. Weaver’s Cove’s new transit plan dated February 2, 2006 would now double the

         annual round trips to a minimum of 120. Id. See also id. at pp. 19-20; id. at p. 24; id. at p. 26;

         id. at p. 28.

                  13. Weaver’s attempted to have the Coast Guard declare the old bridge an obstruction

         and slate it for demolition, but the Coast Guard refused. See Ex. F (District Director’s Letter of

         Oct. 4, 2007)

                  14. The Commanding Officer of the United States Coast Guard for the Southeast New

         England Sector, possesses jurisdiction over the portion of the coast called the “Narragansett Bay

         Regulated Navigation Area,” pursuant to the Ports & Waterways Safety Act of 1972, 33 USC §

         1221 et seq., to determine whether to allow the proposed transit of LNG vessels to Weaver’s

         Cove’s proposed terminal location.

                  15. On October 24, 2007, he issued a recommendation. This document concluded that

         the waterway is not suitable for the intended LNG vessel operations. See Exhibit A. to Motion to

         Stay, Docket # 19.

                  16. Since this Court reviewed the stay motion, that recommendation has been affirmed.

         On December 7, 2007, Captain Roy Nash, the Captain of the Port for USCG Sector Southeast

         New England, rejected Weaver’s appeal. See Ex. F.




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM            Document 29-2         Filed 01/10/2008       Page 4 of 6



                17. Weaver’s Cove never directly apprised the CRMC of any of these developments (see

         prior paragraphs above regarding changes to shipping and disposal) (See Ex. C, Affidavit of

         Grover Fugate, at ¶ 4).

                18. LNG is one few substances that has been deemed to be a “high interest cargo”

         requiring extensive security protocols by federal, state and local law enforcement resources. See

         33 C.F.R. § 165.121.

                19. Federal regulations specify that the Captain of the Port for the particular “regulated

         navigation area” (in this case the Narragansett Bay RNA) will employ security zones that extend

         2 miles off the bow, one mile off the stern, and 3000 feet one either side of any LNG vessel

         transiting through the 23 mile section of waterway contained within the coastal zone.

                20. The irregular and unannounced schedule of LNG tanker transits, together with delays

         to boating associated with passage of LNG tanker security zones, may directly impact Newport’s

         ability to retain major regattas and events such as the Tall Ships, which attract local, national and

         international participation. See Pare Engineering Study, Ex. I.

                21. On June 14, 2005, the Rhode Island Turnpike and Bridge Authority (“RITBA”), the

         state agency statutorily charged with control over the Newport/Pell Bridge and the Mount Hope

         Bridge, passed a resolution indicating the it would, in fact, close the Newport/Pell Bridge every

         single time an LNG tanker passed under the bridge. Ex. K.

                22. As evidenced by RITBA’s Resolution, both the Claiborne Pell Newport Bridge and

         the Mount Hope Bridge will each be closed during the projected 120-130 tanker transits. Id.

                23. For significant security reasons, the bridges will be closed “before, during and after”

         the tankers transit under the bridges. Affidavit of Peter Janaros, Director of Engineering for

         RITBA. See Ex. J.




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM           Document 29-2        Filed 01/10/2008      Page 5 of 6



                  24. Shortly after receiving Weavers Cove’s filing, CRMC telephoned Weaver’s Cove’s

         agent, Epsilon Associates, and spoke to Lester B. Smith and advised him that the papers lacked

         necessary data and information required by Rhode Island’s Federally-approved Coastal

         Resources Management Plan (“CRMP”) and that the CRMC’s review had not begun, and could

         not begin, until all the necessary data and information required by the CRMP was received by

         the agency. See Goulet affidavit. See Goulet Aff. Ex. D.

                  25. CRMC advised Mr. Smith there were several items of necessary data and information

         that had not been submitted to the CRMC and that, until such items were received, the CRMC

         could not commence its consistency review. See Goulet Aff. Ex. D.

                  26. Specifically, CRMC advised Mr. Smith that the application did not include an

         identification of a viable disposal location for the dredged materials. Also, the CRMP required

         that the plans submitted were to be stamped by a Rhode Island professional engineer, and the

         CRMP required a Water Quality Certificate (“WQC”) from the Rhode Island Department of

         Environmental Management (“RIDEM”) as a prerequisite to CRMC review. These were lacking

         too. See Goulet Aff. Ex. D.

                  27. As of the date of this statement, Weaver’s Cove has not submitted the required data

         and information identifying the new viable disposal location for the dredged material, nor has it

         submitted the required WQC from the RIDEM. The RIDEM sent us a copy of the WQC denial

         which would not allow us to issue an assent. Until the necessary data and information is

         submitted, the CRMC cannot begin its consistency review and/or determination. See Goulet Aff,

         Ex. D.




PDF created with pdfFactory trial version www.pdffactory.com
            Case 1:07-cv-00246-S-DLM           Document 29-2        Filed 01/10/2008      Page 6 of 6




                                                             Respectfully submitted,

                                                             State of Rhode Island,
                                                             By its Attorney,

                                                             PATRICK C. LYNCH
                                                             ATTORNEY GENERAL

                                                             /s/ Michael Rubin
                                                             Michael Rubin, Esq., (Bar #3656)
                                                             Assistant Attorney General
                                                             150 South Main Street
                                                             Providence, R.I. 02903
                                                             Tel: (401) 274-4400 Ext. 2116
                                                             Fax: (401) 222-3016

                                                             /s/ Paul J. Roberti
                                                             Paul J. Roberti, Esq., (Bar #4447)
                                                             Assistant Attorney General
                                                             150 South Main Street
                                                             Providence, RI 02903
                                                             Tel: (401) 274-4400 Ext. 2231
                                                             Fax: (401) 222-3016

                                                             /s/ Brian A. Goldman
                                                             Brian A. Goldman, Esq., (Bar #3940)
                                                             Counsel for CRMC
                                                             681 Smith Street
                                                             Providence, RI 02908
                                                             Tel: (401) 521-4100

                                               CERTIFICATION

                 I, the undersigned, hereby certify that a true copy of the within document was served by
         electronic means (ECF) on this 10th day of January, 2007 to the following:

          Gregory L. Benik, Esq.                        Bruce F. Kiely
          Benik & Associates P.C.                       Baker Botts, LLP
          931 Jefferson Blvd., Suite 2008               1299 Pennsylvania Avenue NW
          Warwick, RI 02886                             Washington, DC 20004-2400

                                                             /s/ Michael Rubin




PDF created with pdfFactory trial version www.pdffactory.com
